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FILED

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KING COUNTY
SUPERIOR COURT CLERK

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CASE #: 19-2-19900-8 SEA

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

FOR THE COUNTY OF KING
JOHN STEWART
Case No.:
Plaintiff,
COMPLAINT

v.

PROMETRIC, LLC, a Delaware Corporation,| JURY TRIAL OF TWELVE DEMANDED

Defendant.

 

 

 

 

COMES NOW Plaintiff, and states and alleges the following facts and causes of action
against the above-named Defendant:
JURISDICTION AND VENUE
l. This Court has jurisdiction over this matter. RCW 48.30.015.
. 2. Venue is proper in King County under RCW 4.12.020 because the cause of
action arose in King County.
3. Venue is also proper in King County under RCW 4.12.025 because the

Defendant transacted business in King County at the time the cause of action arose.

PARTIES
4. Plaintiff John Stewart is a Washington resident.
5. Defendant Prometric, LLC, is Delaware corporation doing business in the State
COMPLAINT - 1 MALONEY O’LAUGHLIN, PLLC

200 W. MERCER STREET, STE. 102
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of Washington with its principal place of business in Baltimore, Maryland. Prometric is an

employer under the Washington Law Against Discrimination (“WLAD”), RCW 49.60.

Prometric provides places of public accommodation under the WLAD, RCW 49.60, where it

provides a service, in the form of test administration, in return for a fee from test takers.
FACTUAL BACKGROUND

6. Plaintiff John Stewart worked as a Nurse Aide Evaluator (“NAE”) for Prometric
Inc., from May 26, 2015, until he was terminated on September 29, 2019.

7. Prometric is a multinational] company specializing in computer-based testing.
The Washington State Department of Health (“DOH”) contracts with Prometric to provide
testing for applicants seeking to become licensed Home Care Aides (“HCA”) in the State of
Washington.

8. Prometric provides multiple places throughout the State of Washington where it
administers testing to applicants. Those applicants are required to pay a fee to Prometric to take
the test, which was designed by Prometric.

9. Stewart’s job duties at Prometric included administering practical and written
examinations for persons seeking to become licensed HCAs.

10. Stewart worked for Prometric between three to four days a week, traveling to
several sites in the Seattle area to administer the state-mandated exam for licensure as an HCA.
The written exams are administered in multiple languages.

11. In January 2018, Stewart noticed that Somali-language HCA candidates seemed
to be failing the knowledge exam at unusually high rates. He shared this information with his
coworkers and management, and others echoed his concern. Other test evaluators confirmed
they also had noticed discrepancies with the Somali test.

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12. | On March 14, 2018, Stewart sent his manager, Corwin Sample, an email stating,
among other things, that he had received a complaint from a Somali candidate that the content of
the Somali translation was confusing and sometimes made no sense at all. Stewart further stated
that he suspected that the “Somali knowledge test is lousy and unfair.”

13. On March 15, 2018, Stewart’s manager, Corwin Sample, asked him to find out
more about the pass rates and any complaints.

14. On March 23, 2018, Stewart received an email from an Operations Service
Specialist with the Pass/Rate reports from March 1, 2017, to March 1, 2018, showing the
Exam passage rates for Somali HCA candidates at 72.12%. The English-speaking HCA
candidates had a passage rate of 98.61%. With two other exceptions (Laotian and Samoan),
most of the other non-English speaking HCA candidate groups had passage rates of 86% or
above: Stewart reported back to Sample with this information.

15. In April 2018, the issue came up in a conference call. Stewart and some of his
coworkers raised the possibility of looking into a re-translation of the Somali Knowledge Test.
The response from management was that it would not happen because it was too expensive.

16. In July, Stewart called the Washington State Department of Health (“DOH”)
about the pass-rate discrepancies. Stewart complained to DOH that the test was fundamentally
unfair to Somali-speaking test takers.

17. Shortly thereafter, sometime around July 24, 2018, Stewart was informed that he
was suspended for two weeks. He was told in a conference call with Sample and Pam Thompson
and that the reason for the suspension was contacting a client (DOH) without permission and that

he was not going through the proper channels.

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18. After the two-week suspension, Stewart resumed his job. He inquired if there was
any documentation or further action pending about the suspension and was told there was none.

19. On August 14, Stewart sent an email to Prometric management complaining of
the discrepancy in the pass rates between Somali test takers (72%) and English-speaking test
takers (98%). Stewart stated that he believed the large discrepancy to be due to a problematic
translation and that if he was right, the discrepancy in pass rates meant that the test was
“fundamentally unfair.”

20. In response to Stewart’s email, he was emailed a “Final Written Warning” in the
form of letter dated August 24, 2018, from Prometric attorney Allison Mulford. According to
Mulford, Stewart was given the written warning because “he was not able to drop the issue” of
discrimination with the Somali test.

21. ‘In the warning, Stewart was instructed to “cease and desist” gathering data,
documents, and materials about the Somali test. The letter stated that the issues he had raised
“are of grave concern in relation to your duties as a proctor for Prometric.” Mulford further
stated that the DOH believed that Stewart had a “perceived conflict of interest” in his duties as a
proctor and that Prometric shared that concern.

| 22. The warning also referenced an earlier written warning from December 2017 that
dealt with an entirely separate issue of Stewart assisting a candidate with an accommodation
during testing.

23. The warning further stated that the only materials Stewart should possess related
to his duties as a proctor are the materials in the Nurse Aide Evaluator Manual. With the
exception of the manual, Mulford directed Stewart to return everything that is “either Prometric

or WA DOH property, confidential or proprietary material, or research/data that [he had]

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compi led from the same including but not limited to data, documents and/or materials over to

Pam Thompson by Monday, August 27".” Alternately, Mulford stated that Stewart could certify
that he had destroyed such materials and/or information. The letter did not reference conducting
a search through emails for responsive documents and Stewart did not believe that was required.

24. Stewart did stop compiling information related to the Somali exam. He deleted
such information from his computer and emailed Thompson sometime around August 30, 2018,
indicating that he had destroyed relevant materials.

25. | On September 16, 2018, Stewart forwarded emails related to the Somali
examination from his Prometric email account to his personal email account because he believed
Prometric was engaging in a cover-up of its discrimination. Because he had blown the whistle,
he believed Prometric would try to get rid of him and he believed the information could be
relevant evidence that could be used in a future lawsuit regarding the test and that Prometric
might try to destroy it.

26. Stewart did not believe he was violating any Prometric policies because he was
not sharing the information with anyone outside the company. Stewart only sent the information
to himself and another Prometric employee. Stewart was still an employee when he sent the
emails.

27. Upon information and belief, the information related to pass rates is not
confidential or proprietary information, but is public record maintained by the DOH and subject

to the open records law. None of the documents had previously been marked as confidential} or

proprietary by Prometric.
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28. Within a few days of forwarding the emails to himself, Stewart sent Prometric
management an email again complaining about the test being discriminatory toward Somali-
speaking test takers.

29. | On September 29, 2018, Stewart found that he was locked out of his work email
account. Stewart called Corwin Sample and, after a pause, Pam Thompson came on the line.
Thompson told Stewart that he had been terminated because he shared work emails outside of
the company and for lying about whether he deleted information related to the Somali test.

30. Prometric’s stated reasons for his termination were a pretext for the real reason:
his complaints about the discriminatory nature of Prometric’s Somali-language exam.
COUNT I - WLAD RETALIATION
.31. Plaintiff realleges and incorporates by reference each and every averment of this
Complaint as though fully set forth herein.

32. Stewart engaged in protected activity under the WLAD by complaining about
national origin discrimination against Somali test-takers in a place of public accommodation
provided by Prometric.

33. Stewart had a good faith, reasonable belief that Prometric was discriminating
against Somali test-takers based on their national origin.

34. Prometric retaliated against Stewart because he engaged in this protected activity
by suspending him from work, disciplining him with a final written warning, and terminating his
employment.

35.  Asadirect and proximate cause of Prometric’s retaliatory actions, Stewart has

suffered damages, including lost wages and emotional distress.

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°36.  Atall times mentioned herein, before and after the above-described perpetrators
were agents, servants, and employees of Prometric and were at all such times acting within the
scope and course of their agency and employment, and/or the actions were expressly authorized
by Prometric and/or their actions were ratified by Prometric, thus making Prometric liable for

said actions under the doctrine of respondent superior.

REQUEST FOR RELIEF

37. Plaintiff requests all damages allowable under Washington law, including the
following:
a. Compensatory damages, including lost wages and emotional distress
damages;
b. Pre- and post-judgment interest;
c. Attorney’s fees, costs, and expenses;
d. Any and all other and further relief this Court deems just and proper.

Dated this 29" day of July 2019.

Respectfully submitted,

By: /s/_ Matt J. O'Laughlin
Matt J. O’Laughlin, WSBA 48706

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ATTORNEY FOR PLAINTIFF

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